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AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             BRANDON SAVALOJA
                      (Defendant’s Name)                                  Criminal Number: 2:10CR192-02


                                                                          Alexandria Negin, AFD
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U]      admitted guilt to violation of charge 1 as alleged in the violation petition filed on 7/30/2015 .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation:

Violation Number                     Nature of Violation                                     Date Violation Occurred
1                                    NEW LAW VIOLATION                                       7/26/2015




The court: [U] revokes supervision heretofore ordered on 3/17/2015 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                 2/16/2016
                                                                 Date of Imposition of Sentence

                                                                 /s/ John A. Mendez                    _______________________
                                                                 Signature of Judicial Officer

                                                                 JOHN A. MENDEZ, United States District Judge
                                                                 Name & Title of Judicial Officer

                                                                 2/22/2016
                                                                 Date
                   Case 2:10-cr-00192-JAM Document 153 Filed 02/22/16 Page 2 of 2
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:10CR192-02                                                                   Judgment - Page 2 of 2
DEFENDANT:                BRANDON SAVALOJA


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 8 MONTHS. .



[X]     No TSR: Defendant shall cooperate in the collection of DNA.

[]      The court makes the following recommendations to the Bureau of Prisons:



[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
